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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                       CASE NO.II-I4O6Z-CR-M ARTINEZ/LYNCH

UNITED STATES OF AM ERICA

       Plaintiff,
VS.

M ICHAEL JAM ES ROM BACH,

        Defendant.

       ORDER ADOPTING M AG ISTM TE'S REPOR T AND RECOM M ENDATION

       TH IS CAUSE cam ebefore the Coul'tupon the OrderofReferencefrom theDistrict

 Courtto conductaChangeofPleabefore aM agistrateJudge.
       THE M ATTER wasreferred to M agistrate Judge Frank J.Lynch Jr,onA ugust22,2012.
 A ReportandRecommendationwasfiledonSeptember10,2012,(D.E.#87)recommending that
 theDefendant'splea ofguilty beaccepted.TheDefendantand theGovernmentwereafforded the

 opportunitytofileobjectionstotheReportand Recommendation,howevernonewerefiled.The
 Courthasconducted a denovo review oftheentire file.Accordingly,itis

        ORDERED AND ADJUDGED that
        TheReportand Recomm endation ofUnited StatesM agistrateJudgeFrank J.Lynch Jr,is

 hereby Adopted and Approved in itsentirety.
        TheDefendantisadjudgedguiltytothesolecountofthelndictment,whichchargesthe
  Defendant,with conspiracy to commitm ailfraud,in violation ofTitle 18,United StatesCode,
  Section 1341,and wirefraud,in violation ofTitle 18,United StatesCode,Section 1343,allin
  violation ofTitle 18,United StatesCode,Section 1349.
          DONE AND ORDERED in ChnmbersatM iam i,Florida,this           day ofOctober,2012.




                                                J    . AR TIN Z
                                                UNIT D STATES DISTRI         JUD GE

  Copied:Hon.M agistrateLynch
  A11CounselOfRecord
  U .S.Probation Oftk e
